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                             UNITED STATES DISTRICT COURT
                                            FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA



THINK COMPUTER CORPORATION,                           Case Number: CV13-02054 LHK
               Plaintiff,                             CERTIFICATE OF SERVICE
  v.
DWOLLA, INC, ET AL et al,
               Defendant.
                                            /

I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
Court, Northern District of California.
That on May 7, 2013, I SERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
receptacle located in the Clerk's office.



Think Computer Corporation
Think Computer Corporation
884 College Avenue
Palo Alto, CA 94306-1303
Dated: May 7, 2013
                                                Richard W. Wieking, Clerk
                                                By: S. Puli, Deputy Clerk
